
690 N.W.2d 99 (2004)
MICHIGAN DEPT. OF CIVIL RIGHTS EX REL. BURNSIDE
v.
FASHION BUG OF DETROIT
No. 126254.
Supreme Court of Michigan.
December 27, 2004.
SC: 126254, COA: 240325.
On order of the Court, the application for leave to appeal the February 19, 2004 judgment of the Court of Appeals is considered and, pursuant to MCR 7.302(G)(1), we direct the Clerk to schedule oral argument on whether to grant the application or take other peremptory action permitted by MCR 7.302(G)(1). The parties may file supplemental briefs within 28 days of the date of this order.
